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Comfort, TX 78013

January 3, 2024
The Honorable William G. Young
United States District Judge
United States Federal Courthouse
1 Courthouse Way
Boston, Massachusetts 02210

Re: Letter of Support for Matthew Lindner
Your Honor:

Matthew Lindner made a mistake. He believed a story on social media that was
false. (I wonder how many other people fell for that same story.) He was horrified
by that story and he spoke out against life altering surgery being done to minor
children. After all, he was father to two children ages 10 and 12 and could never
imagine agreeing to such surgery.

As a family friend who has known Matthew since birth, my husband and I know
what kind of human being he is. Asa child he was adventurous and fun loving,
successful at sports and hunting, and loved his family.

After he became a father, we watched him guide his children, coach many of their
teams, and teach them to love the land. He told me that he wanted them to learn all
they could about the bounty the Earth provided. He knew that knowledge was
invaluable. When he and his wife divorced, they agreed to a 50-50 custody of the
children and he insisted on paying a generous child support so that they would have
their needs met. Matthew has been a hands-on father who has taught his children to
be kind, polite, and respectful to others. Consequently, his children are always
welcome in any social setting.

Today, Matthew remains kind, respectful, and a devoted father, willing to help
others, full of energy and fun loving as in the past.

Your Honor, I respectfully request you take into consideration Matthew’s genuine
traits in his sentencing. My family and I will continue to support Matthew in all his
efforts.

Sincerely yours,

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Betty H. Murphy
